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                            IN THE UNITED STATES BANKRUPTCY COURT
                                   FOR THE DISTRICT OF DELAWARE


   In re:                                                  Chapter 11

   FRANCHISE GROUP, INC., et al.,                          Case No. 24-12480 (JTD)

                                                           (Jointly Administered)
                     Debtors.



                        MOTION AND ORDER FOR ADMISSION PRO HAC VICE
            Pursuant to Local Rule 9010-1 and the attached certification, counsel moves for the admission pro
  hac vice of Nacif Taousse of Latham & Watkins LLP to represent JPMorgan Chase Bank, N.A., the
  Prepetition ABL Agent in the above-captioned cases and any and all adversary proceedings.
  Dated: January 8, 2025                     Respectfully submitted,
  Wilmington, Delaware
                                                       /s/ Brett M. Haywood
                                                      Brett M. Haywood (No. 6166)
                                                      POTTER ANDERSON & CORROON LLP
                                                      1313 N. Market Street, 6th Floor
                                                      Wilmington, Delaware 19801
                                                      Telephone: (302) 984-6000
                                                      Email: bhaywood@potteranderson.com

                  CERTIFICATION BY COUNSEL TO BE ADMITTED PRO HAC VICE
            Pursuant to Local Rule 9010-1, I certify that I am eligible for admission to this Court, am admitted,
  practicing, and in good standing as a member of the Bar of the State of New York and submit to the
  disciplinary jurisdiction of this Court for any alleged misconduct which occurs in the preparation or course
  of this action. I also certify that I am generally familiar with this Court’s Local Rules and with the Standing
  Order for District Court Fund revised 12/21/23. I further certify that the fee of $50.00 has been paid to the
  Clerk of Court for the District Court.
  Dated: January 8, 2025                              /s/ Nacif Taousse
                                                      Nacif Taousse, Esq.
                                                      LATHAM & WATKINS LLP
                                                      1271 Avenue of the Americas
                                                      New York, New York 10020
                                                      Telephone: (212) 906-1200
                                                      Email: nacif.taousse@lw.com

                                        ORDER GRANTING MOTION
            IT IS HEREBY ORDERED counsel’s motion for admission pro hac vice is granted.


Dated: January 8th, 2025
Wilmington, Delaware                                             JOHN T. DORSEY
                                                                 UNITED STATES BANKRUPTCY JUDGE
  11968134v.3
